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19
                                   UNITED STATES DISTRICT COURT
20                               NORTHERN DISTRICT OF CALIFORNIA

21    CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
      JEREMY DAVIS, CHRISTOPHER
22
      CASTILLO, and MONIQUE TRUJILLO                DECLARATION OF MARK C. MAO IN
23    individually and on behalf of all similarly   SUPPORT OF PLAINTIFFS’ REQUEST
      situated,                                     FOR REMIMBURSEMENT OF
24                                                  ATTORNEYS’ FEES AND COSTS
                     Plaintiffs,                    INCURRED FOR SUCCESSFUL
25                                                  SANCTIONS MOTION
       vs.
26
                                                    The Honorable Susan van Keulen
27     GOOGLE LLC,

28                   Defendant.

                                                                   DECLARATION OF MARK C. MAO
                                                                  Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 597-1 Filed 06/03/22 Page 2 of 6




1                                      DECLARATION OF MARK C. MAO
2             I, Mark C. Mao, declare as follows.
3             1.       I am a partner with the law firm of Boies Schiller Flexner LLP, counsel for Plaintiffs
4     in this matter. I am an attorney at law duly licensed to practice before all courts of the State of
5     California. I have personal knowledge of the matters set forth herein and am competent to testify.
6             2.       I submit this Declaration pursuant to the Court’s Order granting in part Plaintiffs’
7     motion for sanctions for discovery misconduct (Dkt. 588) and in support of Plaintiffs’ request for
8     reimbursement of attorneys’ fees and costs incurred.
9             3. Attached hereto as Exhibit A is a summary of the fees and costs incurred by Plaintiffs
10 in connection with their sanctions motion. Exhibit A breaks down Plaintiffs’ fees by attorney,

11 rates, and hours billed. Exhibit A also lists the expenses incurred by Plaintiffs for consultant fees,

12 research, printing, graphics, and attorney travel expenses.

13            4. The attorney time incurred included: (1) drafting the motion for sanctions and all
14 supporting materials, including detailed review of late-breaking documents produced by Google

15 from the custodial files of Bert Leung that revealed Google’s use of the maybe_chrome_incognito

16 bit; (2) drafting the supplement to the motion and supporting materials following Google’s

17 disclosure of the is_chrome_incognito and is_chrome_non_incognito bits; (3) reviewing Google’s

18 opposition to the sanctions motion, including the 90 exhibits attached to Google’s opposition; (4)
19 drafting the reply brief in support of Plaintiffs’ sanctions motion and the supporting materials; (5)

20 drafting the proposed findings of fact and conclusions of law; and (6) preparing for and

21 participating in a full-day evidentiary hearing that included an examination of Plaintiffs’ consultant

22 and examinations of four Google engineers; and (7) drafting Plaintiffs’ second supplement to the

23 sanctions motion.

24            5. Plaintiffs did not include in their request any attorney time devoted to (1) preparing for
25 or taking depositions of any witnesses, (2) hearings and conferences before the Special Master, or

26 (3) attorney travel time.

27

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      ___________________________________________________________________________________________________________________
                                                                                      DECLARATION OF MARK C. MAO
                                                                                     Case No. 4:20-cv-03664-YGR-SVK
     Case 4:20-cv-03664-YGR Document 597-1 Filed 06/03/22 Page 3 of 6




1             I declare under penalty of perjury under the laws of the United States of America that the
2     foregoing is true and correct. Executed this 4th day of June, 2022, at San Francisco, California.
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                                                                    /s/ Mark Mao
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                                                                                      DECLARATION OF MARK C. MAO
                                                                                     Case No. 4:20-cv-03664-YGR-SVK
Case 4:20-cv-03664-YGR Document 597-1 Filed 06/03/22 Page 4 of 6




               Exhibit A
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  I.      Attorneys’ Fees
          Name                      Title           Rate     Hours       Total
Abalos, Jianna                   Paralegal           $300    10.20       $3,060
Amen, Ra                         Associate           $475     3.00       $1,425
Anderson, Alison                  Partner           $1020    62.70     $63,954.00
Arborn, Christopher          Administrative Staff    $310     5.10       $1,581
Baeza, Rossana                   Associate           $680    52.00      $35,360
Barthle, Patrick                  Partner            $800     0.40        $320
Boies, Alexander                  Counsel            $870    54.70      $47,589
Boies, David                  Managing Partner      $1,950   49.10      $95,745
Bonn, Amanda                      Partner            $725    132.80     $96,280
Cabezas, Jennifer                Paralegal           $225     6.60       $1,485
Cividini, Augusto                Associate           $660    23.40      $15,444
Crosby, Ian                       Partner            $775     0.50      $387.50
Frawley, Alex                    Associate           $550    172.20     $94,710
Keleshyan, Tina                  Paralegal           $380     2.40        $912
Lee, James                        Partner           $1,030   13.50      $13,905
Mao, Mark                         Partner           $1,000   92.90      $92.900
Martin, Jean                      Partner           $1,000    1.50       $1,500
McGee, Ryan                      Associate           $800    182.80     $146,240
Nyborg-Burch, Erika              Associate           $760    83.20      $63,232
Rabin, Shawn                      Partner           $1,350    2.50       $3,375
Ram, Michael                      Partner           $1,100   12.10      $13,310
Reblitz-Richardson, Beko          Partner           $1,070   68.20      $72,974
Reddy, Kenya                     Associate           $950     6.20       $5,890
Rodriguez, Theresa               Paralegal           $310    11.30       $3,503
Romero Garcilazo, Gabriela       Paralegal           $310    17.80       $5,518
Santos, Vanessa                  Paralegal           $325    13.90     $4,517.50
Shepard, Steven                   Partner            $875     1.50     $1,312.50
Sila, Ryan                       Associate           $575     7.10     $4,082.50
Yanchunis, John                   Partner           $1,300   78.20      $101,660
                             TOTAL                           1167.80   $992,172


  II.     Expert Fees
          Name                      Title           Rate     Hours       Total
Chris Thompson               Consulting Expert      $275      55.83     $15,355
Lillian Dai                  Consulting Expert      $450      30.08     $13,537
                             TOTAL                            85.91     $28,892
         Case 4:20-cv-03664-YGR Document 597-1 Filed 06/03/22 Page 6 of 6




  III.     Expenses
           Name                 Total
Computer Research             $20,906.34
Printing                       $4,304.44
Graphics Support              $13,309.70
Attorneys’ Travel to April    $19,339.95
21 Hearing, Lodging, Meals
          TOTAL              $57,860.43


TOTAL                        $1,078,924.43
